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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
                                    IN ADMIRALTY

 PLATINA BULK CARRIERS PTE LTD,                  )   Civil Action No.: 2:22-cv-1851-RMG
                                                 )
                 Plaintiff,                      )
                                                 )
                       vs.                       )
                                                 )     PLAINTIFF’S ANSWER TO LOCAL
 PRAXIS ENERGY AGENTS DMCC,                      )      RULE 26.01 INTERROGATORIES
 PRAXIS ENERGY AGENTS LLC, and                   )
 PRAXIS ENERGY AGENTS PTE LTD.                   )
                                                 )
                Defendants.                      )



       Pursuant to Local Rule 26.01, Plaintiff Platina Bulk Carriers Pte Ltd. would respond to the

Court’s interrogatories as follows:

       (A)     State the full name, address and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said interest.

       RESPONSE TO (A): Plaintiff is unaware of such interest.

       (B)     As to each claim, state whether it should be tried jury or nonjury and why.

       RESPONSE TO (B): Pursuant to the Plaintiff’s designation of this case as an
       admiralty and maritime claim within the meaning of Fed. R. Civ. P. Supp. Adm. R.
       9(h), the claim should be tried nonjury.

       (C)     State whether the party submitting these responses is a publicly owned company

and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned

company in which the party owns ten percent or more of the outstanding shares.




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       RESPONSE TO (C): Plaintiff is privately held. As to the subparts, Plaintiff responds
       as follows: (1) None; (2) None; and (3) None.

        (D)    State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division).

       RESPONSE TO (D): The Defendants property subject to attachment is or will be in
       this located within the Charleston Division of this federal District.

       (E)     Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide: (1) a short caption and the full case number of the related

action; (2) an explanation of how the matters are related; and (3) a statement of the status of the

related action. Counsel should disclose any cases which may be related regardless of whether they

are still pending. Whether cases are related such that they should be assigned to a single judge will

be determined by the Clerk of Court based on a determination of whether the cases: arise from the

same or identical transactions, happenings or events; involve the identical parties or property; or

for any other reason would entail substantial duplication of labor if heard by different judges.

       RESPONSE TO (E): No.




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Respectfully submitted this 12th day of June 2022 at Charleston, South Carolina.

                                                  HINES & GILSENAN LLC


                                                  By: /s/ Julius H. Hines
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